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 2              IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
 3                            SOUTHERN DIVISION

 4   UNITED STATES OF AMERICA,     ) Case No. 17-03047-01-CR-S-MDH
                                   )
 5             Plaintiff,          ) Springfield, Missouri
                                   ) June 1, 2017
 6   v.                            )
                                   )
 7   ROBBIE R. ROBINSON,           )
                                   )
 8             Defendant.          )
     ______________________________)
 9
                    TRANSCRIPT OF HEARING ON CHANGE OF PLEA
10                    BEFORE THE HONORABLE DAVID P. RUSH
                        UNITED STATES MAGISTRATE JUDGE
11
     APPEARANCES:
12
     For the Plaintiff:               Mr. Randall D. Eggert
13                                    Assistant United States Attorney
                                      901 St. Louis St., Ste. 500
14                                    Springfield, MO 65806
                                      (417) 831-4406
15
     For the Defendant:               Mr. Ian A. Lewis
16                                    Federal Public Defender’s Office
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17                                    Springfield, MO 65806
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18
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     Proceedings recorded by electronic sound recording, transcript
25   produced by transcription service.



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 1                       (Court in Session at 9:32 a.m.)

 2               THE COURT:   Calling in United States vs. Robbie

 3   Robinson.    The defendant appears in person along with his

 4   attorney, Mr. Ian Lewis.     The United States appears by Assistant

 5   United States Attorney, Mr. Randy Eggert.        This matter is set

 6   this morning for a change of plea to the Indictment returned

 7   against this defendant on April 6th, 2017, pursuant to a written

 8   Plea Agreement.     And that Plea Agreement is pursuant to Rule

 9   11(c)(1)(C) of the Federal Rules of Criminal Procedure.          Mr.

10   Robinson, you have signed a consent to have these proceedings for

11   a plea of guilty -- (clearing throat) excuse me -- before a

12   Magistrate Judge, with the understanding that a United States

13   District Judge, a judge of higher jurisdiction, will keep your

14   case for the acceptance of the plea of guilty and sentencing.

15   Even though you signed this consent you have a right, if you

16   wish, to appear before a United States District Judge, a judge of

17   higher jurisdiction, for these proceedings.        At any appearance

18   before the District Judge, you’re presumed innocent until such

19   time, if ever, as the United States establishes your guilt beyond

20   a reasonable doubt to the satisfaction of the judge or jury.           You

21   always have a right to confront and cross-examine witnesses.           You

22   have a right to use the power of the court to subpoena evidence

23   on your behalf and you have a right to testify or not testify as

24   you would choose.     And if you chose not to testify it would not

25   be held against you as that is your right.        If, after



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 1   understanding the charge against you, the range of punishment, if

 2   convicted, and your right to appear before a District Judge, if

 3   you wish, you may waive or give up that right and proceed this

 4   morning before the Magistrate Judge.      As I indicated, you have

 5   signed such a consent.    Do you understand that you have a right

 6   to appear before a United States District Judge, a judge of

 7   higher jurisdiction, for these proceedings?

 8            MR. ROBINSON:    Yes, sir.

 9            THE COURT:   And is it your desire to give up that right

10   and proceed this morning before the Magistrate Judge?

11               (Off Record: Attorney-Client Discussion)

12            MR. ROBINSON:    Yes, sir.

13            THE COURT:   Mr. Robinson, do you understand the charge

14   against you in the Indictment in this case?

15            MR. ROBINSON:    Yes, sir.

16            THE COURT:   And do you understand that if convicted of

17   the charge in the Indictment, that the maximum penalty the court

18   may impose is not more than 10 years imprisonment, not more than

19   a $250,000 fine, not more than three years supervised release,

20   and a $100 mandatory special assessment?

21            MR. ROBINSON:    Yes, sir.

22            THE COURT:   To the charge in the Indictment, how do you

23   wish to plead, guilty or not guilty?

24            MR. ROBINSON:    Guilty.

25            THE COURT:   Would you please raise your right hand?         As



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 1   best you can raise your right hand.

 2                 ROBBIE R. ROBINSON, DEFENDANT, SWORN

 3            THE COURT:   And Mr. Lewis, now that he’s standing up

 4   would you just direct that microphone up?       Thank you.    Mr.

 5   Robinson, has anyone made any threat of any kind to force you to

 6   plead guilty or give up any of the other rights that we’ve

 7   discussed this morning?

 8            MR. ROBINSON:    No, sir.

 9            THE COURT:   You’ve signed a Plea Agreement.        Have you

10   read that and gone over it with your attorney?

11            MR. ROBINSON:    Yes, sir.

12            THE COURT:   Do you understand what’s in it?

13            MR. ROBINSON:    Yes, sir.

14            THE COURT:   Other than what is contained in the Plea

15   Agreement, has anyone made any promise of any kind to induce you

16   or overcome your will to get you to plead guilty or give up any

17   of the other rights we’ve discussed?

18            MR. ROBINSON:    No, sir.

19            THE COURT:   I mentioned to you that there was a

20   supervised release term of not more than three years that could

21   be imposed in your case.    Do you understand that if that term

22   were imposed and then revoked for any reason, that you could be

23   required to serve an additional term of imprisonment of not more

24   than two years, and if that happened, you would receive no credit

25   for any other time you had spent either in custody or on release?



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 1                  (Off Record: Attorney-Client Discussion)

 2              MR. ROBINSON:     Yes, sir.

 3              THE COURT:    Yeah, Mr. Robinson, I know you’re going to

 4   be subject to a sentence of imprisonment as I told you

 5   previously.     But, also, when you’re sentenced, the court will

 6   impose a period of supervised release.         So, after you’ve served

 7   your time, you will be then released and still be under a

 8   sentence.    It’s sort of like probation after you’ve done your

 9   time.    So you’ll be on supervised release.        During that period if

10   you would violate your supervised release, then I’m explaining to

11   you that you could be revoked and have to serve an additional

12   term of imprisonment.      However, in your case, it could not be

13   more than two years based on the type of offense that you’re

14   pleading to and as your attorney explained to you, if that

15   happened, you won’t receive any credit for any other time you’d

16   spent either in custody or on release.         So that’s my question.

17   Do you understand that?

18              MR. ROBINSON:     Yes, sir.

19              THE COURT:    And then do you understand that if your

20   supervised release were to be revoked because you violated it and

21   that you were then sentenced and received another period of

22   incarceration, do you understand that the court could impose an

23   additional term of supervised release, which is governed by the

24   maximum of the statute, minus any time you’d spent in custody as

25   a result of a violation?



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 1             MR. ROBINSON:     I understand.

 2             THE COURT:    Do you understand, Mr. Robinson, that from a

 3   sentence imposed in your case that there is no parole?

 4             MR. ROBINSON:     Yes, sir.

 5             THE COURT:    Do you understand that there are Sentencing

 6   Guidelines to which the District Court would refer to in an

 7   advisory capacity when attempting to fashion a reasonable

 8   sentence in your case?

 9             MR. ROBINSON:     Yes, sir.

10             THE COURT:    Now, Mr. Robinson, your Plea Bargain

11   Agreement provides that this plea is entered under the provisions

12   of Rule 11(c)(1)(C) and provides that the court must impose the

13   sentence as follows.     And I’m reading directly from your Plea

14   Agreement, Paragraph 6(a):      “Ninety-one months imprisonment

15   followed by a three-year term of supervised release with the

16   special condition that the defendant register as a sex offender

17   as provided by state and federal law, as well as any other

18   conditions of supervised release deemed appropriate by the

19   court.”   And, Mr. Robinson, if the court accepts this Plea

20   Agreement and, that is, the District Court, the sentencing court,

21   then you would be informed that the sentence will be imposed in

22   accordance with agreement of the parties, as I’ve just stated to

23   you.   If the court rejects the Plea Agreement it will, on the

24   record in an open court, inform all parties that the court

25   rejects the Plea Agreement and advise you personally that because



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 1   the court is rejecting the Plea Agreement, that the court is not

 2   required to impose the sentence in accordance with the agreement

 3   of the parties.    At that point, if that happened, you are given

 4   the opportunity to withdraw your plea of guilty.        If you do not

 5   withdraw your plea of guilty, then the court is free to dispose

 6   of the case less favorably toward you than the Plea Bargain

 7   contemplates.   Do you understand that this is the sentencing

 8   procedure to which you have agreed to in this case?

 9            MR. ROBINSON:    Yes, sir.

10            THE COURT:   Now, have you reviewed the guideline

11   applications in Paragraph 10 of -- that are referred to in the

12   Plea Agreement, as well as Paragraph 6(a) with Mr. Lewis?

13            MR. ROBINSON:    Yes, sir.

14            THE COURT:   And then understanding the terms of this

15   Plea Agreement then with regard to the sentence is it your desire

16   for the court to accept the plea of guilty?

17            MR. ROBINSON:    Yes, sir.

18            THE COURT:   Mr. Robinson, you have a right to a trial by

19   jury with all the protections that I explained to you at the

20   beginning of these proceedings.     Do you understand your right to

21   a trial by jury?

22            MR. ROBINSON:    Yes, sir.

23            THE COURT:   And do you understand that if the court

24   accepts your plea of guilty that there won’t be a trial?

25            MR. ROBINSON:    Yes, sir.



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 1              THE COURT:    I’m going to ask you about the offense

 2   charged in the Indictment.       I would remind you that you are under

 3   oath.    You must answer truthfully.       Any false answers could

 4   result in charges of false swearing or perjury.           You always have

 5   the right to remain silent.       And I want to refer you to your Plea

 6   Bargain Agreement, specifically on page 2, Section 3 or Paragraph

 7   3, which is entitled in bold Factual Basis for Guilty Plea.              Have

 8   you read Paragraph 3 and gone over it with Mr. Lewis?

 9              MR. ROBINSON:     Yes, sir.

10              THE COURT:    And are the statements contained in Section

11   3 true?

12              MR. ROBINSON:     Yes, sir.

13              THE COURT:    Mr. Lewis, you’ve had access to the

14   Government’s discovery file in this case, have you not?

15              MR. LEWIS:    I have, Your Honor.

16              THE COURT:    And based upon your review of the discovery

17   file, are you satisfied if put to proof, that the United States

18   could make a submissible case as to all the elements pertaining

19   to the Indictment in this case?

20              MR. LEWIS:    I am, Your Honor.

21              THE COURT:    There is an adequate factual basis for the

22   plea of guilty to the Indictment.        I find that the plea is

23   voluntary and did not result from force, threats or promises

24   other than those set forth in the Plea Agreement.           Mr. Robinson,

25   you are represented in this case by Mr. Lewis.           Have you had



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 1   enough time to talk with him about your case?

 2            MR. ROBINSON:    Yes, sir.

 3            THE COURT:   And are you satisfied with the advice that

 4   he’s given you?

 5            MR. ROBINSON:    Yes, sir.

 6            THE COURT:   The law requires me to ask you if this

 7   morning you are on any medication prescribed by a physician or

 8   any drugs or alcohol of any kind which would affect your ability

 9   to understand these proceedings?

10            MR. ROBINSON:    No, sir.

11            THE COURT:   The Plea Bargain Agreement that you’ve

12   signed also contains what we refer to as an appeal waiver.            And I

13   want to refer you back again to your Plea Bargain Agreement to

14   Paragraph 15 on page 11 which is entitled in bold Waiver of

15   Appellate and Post-Conviction Rights.      Have you read Paragraph 15

16   and gone over it with Mr. Lewis?

17            MR. ROBINSON:    Yes, sir.

18            THE COURT:   And do you understand that by signing this

19   Plea Agreement that you’ve given up those rights to appeal as set

20   forth in Paragraph 15?

21            MR. ROBINSON:    Yes, sir.

22            THE COURT:   Understanding that and the other matters

23   that we’ve discussed this morning, is it your desire for the

24   court to accept the plea of guilty?

25            MR. ROBINSON:    Yes, sir.



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 1              THE COURT:    Mr. Eggert, on behalf of the United States,

 2   do you have any other record under Rule 11 that you think I need

 3   to make?

 4              MR. EGGERT:    No, Your Honor.

 5              THE COURT:    Mr. Lewis, on behalf of the defendant, do

 6   you have any other record under Rule 11 you think I need to make?

 7              MR. LEWIS:    No, Your Honor.    Thank you.

 8              THE COURT:    I will recommend that the plea of guilty be

 9   accepted and I will order a Presentence Investigation to be

10   conducted by the Probation Office.      Mr. Robinson, good luck to

11   you, sir.    With that, we’ll be in recess.

12                      (Court Adjourned at 9:43 a.m.)

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 4
               I certify that the foregoing is a correct transcript
 5   from the electronic sound recording of the proceeding in the
     above-entitled matter.
 6

 7
               /s/ Lissa C. Whittaker                   June 6, 2017
 8             Signature of transcriber                      Date

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